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     MICHAEL JAY BERGER (State Bar # 100291)
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2    Beverly Hills, CA 90212-2929                                          FILED & ENTERED
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     Michael.Berger@bankruptcypower.com                                          FEB 26 2024
4
5    Proposed Counsel for Debtor and Debtor-in-Possession                   CLERK U.S. BANKRUPTCY COURT
     Mr. Tortilla, Inc.                                                     Central District of California
                                                                            BY Pgarcia DEPUTY CLERK
6
7                              UNITED STATES BANKRUPTCY COURT
8                                CENTRAL DISTRICT OF CALIFORNIA
9
                                 SAN FERNANDO VALLEY DIVISION
10
     In re:                                         )    CASE NO.: 1:24-bk-10228-VK
11                                                  )
                                                    )    Chapter 11
12                                                  )
     Mr. Tortilla, Inc.,                            )    ORDER GRANTING DEBTOR’S
13                                                  )    EMERGENCY MOTION FOR ORDER
                                                    )    AUTHORIZING PAYMENT OF WAGES
14                                                       AND RELATED EXPENSES
                    Debtor and Debtor-in-Possession.)
15                                                  )
                                                    )
16                                                  )    Hearing Date:
                                                    )    Date: 2/22/2024
17                                                  )    Time: 2:00 p.m.
                                                    )    Place: Courtroom 301 [via ZoomGov and in-
18                                                  )    person]
                                                    )
19                                                  )    21041 Burbank Blvd., 3rd Floor
                                                    )    Woodland Hills, CA 91367
20                                                  )
                                                    )
21                                                  )
                                                    )
22                                                  )
                                                    )
23                                                  )
24                                                  )

25            A hearing took place at the above time and place to consider the Emergency Motion for
26   Order Authorizing Payment of Wages and Related Expenses (the “Payroll Motion”) [docket no.:
27
     14] filed by Mr. Tortilla, Inc., the Debtor and Debtor-in-Possession herein (the “Debtor”).
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                                                     1
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     Appearances are noted on the record. The court having reviewed the Payroll Motion, the
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2    arguments made at the hearing, and good cause appearing:

3
            HEREBY ORDERS that:
4
            1.     Payroll Motion is granted.
5
            2.     Debtor has satisfied the “immediate and irreparable harm” standard of Bankruptcy
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     Rule 6003.
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            3.     Payment of the insider compensation and any related benefits will not occur until
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9    Notice Setting Insider Compensation form has been submitted and the time to object has expired.

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24        Date: February 26, 2024

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